Case 9:19-cv-01570-DJS Document71 _ Filed 03/07/23. Page1of4

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

PRO BONO FUND VOUCHER
AND REQUEST FOR REIMBURSEMENT

I, Daria Gerasimova , duly appointed as counsel pro bono to

represent Jason Berry in the matter of

Berry v. C.O. Dart et al.

Civil Action No. 9:19-cVy-1570, hereby request reimbursement pursuant to Local Rule 83.3

for expenses incurred in the representation of my pro bono client in the amount of $ $ 290.00.
I certify that the expenses, a detailed copy of which are attached hereto, are reasonable
and necessary. I further understand that absent prior approval of the court, cumulative expenses

in this matter will not exceed $2,000.00.
Dated: March 6, 2023

Dee berastrwee

Counsel Pro Bono (Signature):

The above application of counsel pro bono is fair and reasonable and payment is
requested from the Northern District of New York’s Pro Bono Fund.

Dated:

Presiding Judge (Signature):

IT IS SO ORDERED.

Dated:

Chief U.S. District Judge
Case 9:19-cv-01570-DJS Document71 _ Filed 03/07/23 Page 2 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Pro Bono Expense Voucher

Attorney(s) Name: Daria Gerasimova

Law Firm Name: Ferrara Fiorenza PC

Mailing Address of Law

Firm: 520 Columbia Dr. Suite 204
City/State/Zip: Johnson City, New York 13790

I hereby request payment be made for Pro Bono services performed in:

Case Number: 9:19-cv-01570-DJS

Party Represented: Jason Berry

Dates of Service: From: 4/26/2022 To: 3/2/2023
Rates Effective October 2021 through September 2022 GRAN D TOTAL
See mileage rates for Northern District of New York VOUCHER AMOUNT
GSA PER DIEM RATES: _ Lodging Meals $ 290.00
(Recommended) .

Syracuse $101 $64

Albany $114 $69 Finance Audit Date:

Utica $ 96 $59

Binghamton : ae : ea

Plattsburgh

*Only actual expenses may be claimed

I certify that I rendered the services described herein, that said services are fair and reasonable and payment is requested from
the Northern District of New York’s Pro Bono Fund. I further understand that absent prior approval of the Court, cumulative
expenses in this matter will not exceed $2,000.00.

rN. e f ? = A, Sf?
Attorney Signature: Dawe bE. 28 Si ov G— Date: 3/6/2023

*Must provide receipts if your expenses include airfare, lodging, rental car and expenses $50.00 and over.
*Please submit your voucher via ECF using “Motion for Disbursement of Funds” event.

*If you have an expense over $500.00, travel expenses or your voucher exceeds $2,000.00, please fill out the attached Authorization
Request Form.

Page 3 of 4

Filed 03/07/23

Case 9:19-cv-01570-DJS Document 71

00°062 $

“WLOL

00°06z $

eusodqns sseullA\ eusodgns jo aolAlas SZ/OL/Z

BAOUISEIOS elleq :(s)Aou10}7V
*s[lejop AaYyIANy 10J sau[apmMs aes ssvatq ‘[eAoidde sod s.J1NGD IY} 9A1999.1 PNOYS HO'OOSS JO SS99xe Ul sasuadxa AUY,

sosuvdxy 194jO ou0g 01g
Case 9:19-cv-01570-DJS Document71 _ Filed 03/07/23 Page 4of4

D& M Litigation Services INVOICE: 8364535
PO BOX 232 Issued: Feb 10, 2023
North Syracuse, NY 13212 RECEIVED Sent to: SUE AGATI
FEB 14 2023

FERRARA FIORENZA PC
FERRARA FIORENZA PC
SUE AGATI
290 LINDEN OAKS SUITE 230

ROCHESTER, NY 14625

Case: 9:19-CV-01570-TJM-DJS Plaintiff / Petitioner: JASON BERRY,
Job: 8364535 Defendant /Respondent: C.O. DART, C.0, MURRAY, C.O. PENNELLO, AND SGT PYKE

2/10 SERVICE OF SUBPOENA $0.00 0 $0.00
Out of County Service RYAN PENNELLO $80.00 1 $80.00
Out of County Service JEFFREY CLAFLIN $80.00 0.5 $40,00
Out of County Service STEVEN PYKE $80.00 0.5 $40.00
Out of County Service DANIEL MURRAY $80.00 0.5 $40.00
Out of County Service RICHARD DART $80.00 0.5 $40.00
RUSH FEE RUSH SERVICE REQUESTED. $10.00 5 $50.00

Total: $290.00
Thanks for your business. Please pay the "Balance Due" within 21 days. Amount Pald: ($0.00)

Balance Due: $290.00

D & M Litigation Services » PO BOX 232, North Syracuse, NY 13212

Call: 315-534-8776 * Email: info@dmiltigation.com

